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July 24, 2019

NEIL 1. ALBSTEIN*
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Via

Hon. Katherine Polk Failla

United States District Court for the
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Re: MORENA ORUE, et al., v. ARTISANAL FROMAGERIE & BISTRO, LLC, et al. -

Case No. 15 Civ. 5727 (KPF)

Dear Judge Failla:

As instructed during our conference call of July 18, 2019, this letter is written on behalf
of Sarid Drory and Stephanie Schulman setting forth their position with respect to the entry of a

default judgment.

Under the terms of the Stipulation and Order entered by the Court on November 28, 2017
(ECF #150), a payment of $25,000 was due on April 20, 2019. Plaintiff served a notice of

default on April 23, 2019.

In response, Mr. Drory filed a letter motion dated April 25, 2019 (ECF #171) requesting a

conference so he could propose a revised payment schedule. The motion was granted by Order
dated May 2, 2019 (ECF #172), and a telephone conference was held on May 9, 2019. During
that conference, the undersigned, on behalf of Mr. Drory and Ms. Schulman, proposed a revised
payment schedule. The Court declined to enter a default at that time and adjourned the

conference, which was then held on July 18, 2019.
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Hon. Katherine Polk Failla

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Mr. Drory and Ms. Schulman respectfully submit that the intervening motion and actions
of the parties and the Court served to negate the legal effect of the April 23, 2019 default notice.
Accordingly, we believe that the Court should decline to enter a default judgment based on the
April 23, 2019 notice.

Since we were last in Court, a new default notice was served on July 18, 2019. Mr.
Drory and Ms. Schulman respectfully submit that judgment cannot be entered against Mr. Drory
until the ten business day cure period under the new notice expires on August 1, 2019. We
further submit that, given the continued efforts of Mr. Drory to satisfy his obligations under the
Stipulation and Order, the Court should deny any request for contempt which may be asserted
against Mr. Drory by the Plaintiffs.

Under the terms of the Stipulation and Order, the sole right of the Plaintiffs with respect
to Ms. Schulman is to commence an action to enforce their alleged guaranty, which action
likewise cannot be commenced until the expiration of the August 1, 2019 notice period.

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aA
J. Ted Donovan, Esq.

Cc: Arsenio Rodriguez, Esq. (Via Email)
Nancy A. Temple, Esq. (Via Email)
